17-35075-cgm       Doc 315     Filed 07/23/20 Entered 07/23/20 14:05:52                  Main Document
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                              UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                    POUGHKEEPSIE DIVISION

      In re: REIFLER, BRADLEY C.                                        § Case No. 17-35075-CGM
                                                                        §
                                                                        §
  Debtor(s)                                                             §

                      INTERIM TRUSTEE'S FINAL REPORT (TFR)

        The undersigned trustee hereby makes this interim Final Report and states as follows:

         1. A petition under Chapter 7 of the United States Bankruptcy Code
 was filed on January 20, 2017. The undersigned trustee was appointed on January 20, 2017.

         2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

          3. All scheduled and known assets of the estate have been reduced to cash, released to
 the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
 pursuant to 11 U.S.C. § 554 except that the trustee reserves, pursuant to 11 U.S.C. section 554(c ),
 the estate's interest in the following: 17 - FOREFRONT CAPITAL HOLDINGS LLC, 19 -
 100% INTEREST IN NEW BEGINNINGS TRUST-OWNS, 21 - MONIES LOANED TO
 THREE(3) INDIVIDUALS &, 24 - ADV. PROC. O'TOOLE V. VESNIC, 19-9004,
 25 - ADV. PROC. O'TOOLE V. BRADLEY REIFLER, ET AL.. AS THIS IS AN
 INTERIM FINAL, THE TRUSTEE RESERVES ANY AND ALL RIGHTS TO ASSETS OF
 THE ESTATE UNLESS EXPRESSLY ABANDONED PURSUANT TO 11 U.S.C 554.
 The filing of the Trustee's Final Report shall not be deemed an abandonment of the estate's interest
 in these assets. An individual estate property record and report showing the disposition of all
 property of the estate is attached as Exhibit A.
         4. The trustee realized the gross receipts of        $            945,000.00

                        Funds were disbursed in the following amounts:
                        Payments made under an
                          interim distribution                                    0.00
                        Administrative expenses                                  24.87
                        Bank service fees                                     5,325.71
                        Other payments to creditors                               0.00
                        Non-estate funds paid to 3rd Parties                      0.00
                        Exemptions paid to the debtor                             0.00
                        Other payments to the debtor                              0.00
                        Leaving a balance on hand of 1        $            939,649.42
 The remaining funds are available for distribution.




 UST Form 101-7-TFR (05/1/2011)
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                 5. Attached as Exhibit B is a cash receipts   15disbursements record for each estate bank
                                                             and
       account.

               6. The deadline for filing non-governmental claims in this case was 09/15/2017
       and the deadline for filing governmental claims was 10/13/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

        7. The Trustee's proposed interim distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $43,250.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $43,250.00, for a total compensation of $43,250.00.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $1,069.57, for total expenses of
                 2
       $1,069.57.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 07/10/2020                    By: /s/Marianne T O'Toole
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
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                                                                                                                                                            Exhibit A


                                                                        Form 1                                                                              Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 17-35075-CGM                                                       Trustee:        (900435)     Marianne T O'Toole
Case Name:       REIFLER, BRADLEY C.                                            Filed (f) or Converted (c): 01/20/17 (f)
                                                                                §341(a) Meeting Date:        03/02/17
Period Ending: 07/10/20                                                         Claims Bar Date:             09/15/17

                                1                               2                          3                      4                5                   6

                    Asset Description                        Petition/            Estimated Net Value         Property        Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)          Unscheduled       (Value Determined By Trustee,   Abandoned        Received by      Administered (FA)/
                                                              Values            Less Liens, Exemptions,      OA=§554(a)        the Estate       Gross Value of
Ref. #                                                                              and Other Costs)                                           Remaining Assets

 1       123 Fraleigh Hill Road, Millbrook, NY 12545 (u)        Unknown                            0.00         OA                      0.00                    FA
          Amended Schedule A/B filed May 4, 2017

 2       2001 Chevrolet Truck                                   5,000.00                       1,225.00                                 0.00                    FA

 3       Chevrolet Van                                          5,000.00                       5,000.00         OA                      0.00                    FA

 4       (Zamboni) (u)                                          7,500.00                       7,500.00         OA                      0.00                    FA
          Amended Schedule A/B filed May 4, 2017

 5       Household Goods & Furnishings                         75,000.00                    62,375.00           OA                      0.00                    FA

 6       Televisions and stereo equipment (u)                   2,500.00                           0.00         OA                      0.00                    FA
          Amended Schedule A/B filed February 27, 2017

 7       Art & Sculptures                                      54,000.00                    49,300.00           OA                      0.00                    FA

 8       Gym equipment (u)                                      7,500.00                       7,500.00         OA                      0.00                    FA
          Amended Schedule A/B filed February 27, 2017

 9       6 shot guns & 2 hand guns                             10,000.00                    10,000.00                                   0.00                    FA

10       Wearing Apparel                                        5,000.00                           0.00                                 0.00                    FA

11       Wedding Band, 2 watches & cufflinks                   10,000.00                           0.00                                 0.00                    FA

12       Citibank (u)                                                 0.00                         0.00                                 0.00                    FA
          Amended Schedule A/B filed February 27, 2017

13       Citibank (u)                                                 0.00                         0.00                                 0.00                    FA
          Amended Schedule A/B filed February 27, 2017

14       First Republic Bank (u)                                      0.00                         0.00                                 0.00                    FA
          Amended Schedule A/B filed February 27, 2017

15       Optum Bank (u)                                             224.98                         0.00                                 0.00                    FA
          Amended Schedule A/B and C filed February 27,
         2017

16       Sky Blue Farm Inc.-owns 3 horses(not operating)              0.00                         0.00                                 0.00                    FA

17       Forefront Capital Holdings LLC                               1.00                         0.00                                 0.00                    FA
          TRUSTEE RESERVES ANY AND ALL RIGHTS

18       IRA through Chase                                            0.00                         0.00                                 0.00                    FA

19       100% interest in New Beginnings Trust-owns                   1.00                         0.00                                 0.00                    FA
          Forefront Capital Advisors; TRUSTEE RESERVES
         ANY AND ALL RIGHTS


                                                                                                                             Printed: 07/10/2020 07:21 PM    V.14.66
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
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Case Name:         REIFLER, BRADLEY C.                                                      Filed (f) or Converted (c): 01/20/17 (f)
                                                                                            §341(a) Meeting Date:            03/02/17
Period Ending: 07/10/20                                                                     Claims Bar Date:                 09/15/17

                                 1                                         2                               3                      4                   5                    6

                     Asset Description                                 Petition/             Estimated Net Value              Property           Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,        Abandoned           Received by      Administered (FA)/
                                                                        Values             Less Liens, Exemptions,           OA=§554(a)           the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                   Remaining Assets

20        Sky Blue Farm Trust - debtor is a settlor (u)                    Unknown                                 0.00                                    0.00                       FA
           (together with his non-filing spouse) - trust owns real
          estate located at 123 Fraleigh Hill Road, Millbrook,
          New York. Amended Schedule A/B filed May 4, 2017

21        Monies loaned to three(3) individuals &                      4,716,658.44                                0.00                                    0.00                       FA
           Forefront Management Group LLC;TRUSTEE
          RESERVES ANY AND ALL RIGHTS

22        John Deere Tractor (u)                                            7,500.00                           7,500.00                                    0.00                       FA
           Amended Schedule A/B filed May 4, 2017

23        Adv. Proc. O'Toole v. American Express, 19-9005 (u)             45,000.00                         45,000.00                                 45,000.00                       FA

24        Adv. Proc. O'Toole v. Vesnic, 19-9004 (u)                      129,500.00                       129,500.00                                       0.00            129,500.00
           Judgment entered. Appeal pending. 20-CV-01423
          (NSR)

25        Adv. Proc. O'Toole v. Bradley Reifler, et al. (u)           10,618,671.59                     10,618,671.59                                900,000.00          9,320,516.59
           Judgment entered. Appeal pending 20-CV-1427
          (VB)

 25      Assets      Totals (Excluding unknown values)               $15,699,057.01                    $10,943,571.59                              $945,000.00          $9,450,016.59



      Major Activities Affecting Case Closing:

                  3/22/17-Application to Employ O'Toole + O'Toole PLLC as Counsel to the Chapter 7 Trustee
                  3/29/17-Application to Employ David R. Maltz & Co., Inc. as Auctioneers for the Trustee
                  3/30/17-Order Approving Employment of O'Toole + O'Toole PLLC as Counsel to the Chapter 7 Trustee
                  4/3/17-Order Authorizing Employment of David R. Maltz & Co., Inc. as Auctioneer for the Trustee
                  4/13/17-Lift Stay Motion filed by Bank of America, N.A. re: 123 Fraleigh Hill Road, Millbrook, NY. Hearing Date: 5/9/17
                  4/24/17-Adversary Proceeding filed JPMorgan Chase Bank, N.A. v. Reifler, Adv. Proc. No. 17-09012
                  5/1/17-Motion To Extend Time to Object to Discharge for Chapter 7 Trustee and U.S. Trustee. Presentment date: 5/19/17. Adv. Complaints filed Bank of America v.
                  Reifler, 17-9015; North Carolina Mutual Life Insurance Co. v. Reifler, 17-9016; and CYJF v. Reifler, 17-9017
                  5/2/17-Trustee's Objections to lift stay motion of Bank of America re: 123 Fraleigh Hill Road, Millbrook, NY
                  5/5/17-Notice of Adjournment of Hearing on Bank of America's lift stay motion to June 6, 2017
                  5/24/17-Adversary Proceeding filed O'Toole v. Bradley C. Reifler, et al., 17--9020
                  5/25/17-Order extending the Trustee and the Office of the U.S. Trustee's Time to Object to Debtor's Discharge until 8/1/17.
                  6/2/17-Letter confirmation adjournment of hearing of Bank of America's lift stay motion to 6/20/17
                  6/6/17-Notice of Hearing Regarding North Carolina Mutual Life Insurance Company Motion for Relief from Stay. Hearing date: 6/20//17
                  6/7/17-Amended Notice of Hearing Regarding North Carolina Mutual Life Insurance Company Motion for Relief from Stay. Hearing date: 6/27/17
                  6/13/17-Trustee's Request for Clerk's Entry of Notice of Possible Dividends. Notice of Possible Payment of Dividends and of Last Date to File Claims (by 9/15/17)


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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 17-35075-CGM                                                                Trustee:         (900435)     Marianne T O'Toole
Case Name:      REIFLER, BRADLEY C.                                                      Filed (f) or Converted (c): 01/20/17 (f)
                                                                                         §341(a) Meeting Date:         03/02/17
Period Ending: 07/10/20                                                                  Claims Bar Date:              09/15/17

                             1                                          2                             3                       4                    5                     6

                    Asset Description                              Petition/               Estimated Net Value          Property              Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled          (Value Determined By Trustee,    Abandoned              Received by        Administered (FA)/
                                                                    Values               Less Liens, Exemptions,       OA=§554(a)              the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                    Remaining Assets

               issued by Clerk of the Court.
               6/15/17-Application to Employ CBIZ Accounting, Tax & Advisory of New York, LLC and CBIZ Vluation Group, LLC as Financial Advisors to the Chapter 7 Trustee.
               6/16/17-Letter confirming hearing on Bank of America's lift stay motion adjourned to 6/27/17
               6/19/17-Letter confirming pretrial conferences in three adversary proceedings adjourned to 6/27/17
               6/20/17-Chapter 7 Trustee's Objection to Lift Stay Motion by North Carolina Mutual Life Insurance Company.
               6/22/17-Notice of Withdrawal Without Prejudice of Bank of America's Lift Stay motion
               6/30/17-Order Authorizing and Approving Employment of CBIZ Accounting, Tax & Advisory of New York, LLC and CBIZ Valuation Group, LLC as Financial Advisors to
               the Chapter 7 Trustee
               7/5/17-Quarterly case review
               7/31/17-Adv. Proceeding filed GBForefront, L.P. v. Reifler, 17-09028
               8/2/17-Adver. Proceeding filed Harrington v. Reifler to Deny Debtor's Discharge, 17-09030
               8/10/17-Motion by Bank of America, N.A. to Lift Stay to Comply with IRS Summons. Hearing date: 10/3/17
               9/28/17-Quarterly case review
               10/2/17-Applications for Ex Parte Order for Rule 2004 Examinations and Production of Documents from Kelsey Eryn Reifler and Cole Reifler
               10/4/17-Orders for Rule 2004 Examinations and Production of Documenets by Kelsey Eryn Reifler and Cole Reifler
               10/10/17-Order Granting Lift Stay Motion of Bank of America for the purpose of complying with a summons of the IRS. Case Status Conference Order scheduling
               status conference in five adversary proceedings for November 14, 2017
               10/30/17-Lift Stay Motion by Bank of America re: 123 Fraleigh Hill Road, Millbrook, NY. Hearing date: 11/14/17
               10/31/17-Lift Stay Motion by CYJF LLC re: 123 Fraleigh Hill Road, Millbrook, NY. Hearing date: 11/14/17
               11/1/17-Lift Stay Motion and Request for Shortening of Time to be Heard on the Motion filed by JPMorgan Chase Bank seeking Judicial Authorization for the Use and
               Governance of Confidential Materials in this Bankruptcy Case and Seeking Judicial Permission to Extend Notice of Lis Pendens dated November 1, 2017
               11/6/17-Order Granting Motion of JPMorgan Chase Bank to Shorten Time and Settting Hearing Date on Motion for Lift Stay. Hearing date on Lift Stay Motion:
               11/14/17
               11/7/17-Chapter 7 Trustee's Limited Objection to the Lift Stay Motion Filed by Bank of America. JPMorgan Chase Bank's Response to the Lift Stay Motion of Bank of
               America and Objection to the Lift Stay Motion of CYJF, LLC
               11/8/17-Chapter 7 Trustee's Limited Objection to Lift Stay Motion filed by JPMorgan Chase Bank and to Lift Stay Motion filed by Bank of America
               11/9/17-Chapter 7 Trustee's Objection to Lift Stay Motion filed by CYJF LLC
               12/1/17-Notice of Appeal by Bank of America.N.A. of Order denying lift stay motion
               12/4/17-Order Denying Lift Stay Motion of CYJF LLC. Order Granting JPMorgan Chase Bank Lift Stay Motion for the limited purposes
               12/13/17-Notice of Appeal by CYJF of Order Denying Relief fro the Automatic Stay
               12/15/17-Notice of Agenda of Matters Scheduled on December 19, 2017
               1/3/18-Quarterly case review
               2/15/18-Presentment of Stipulation and Order Resolving the BANA Appeal and the Trustee's Objedction to the BANA Lift Stay Motion. Presentment date: 3/1/18
               2/23/18-Notice of Proposed Abandonment of the Estate's Interest in and to the Real Property Located at 123 Fraleigh Hill Road, Millbrook, NY 12545. Objections, if
               any, due 3/12/18. If no objections timely filed, Real Property will be deemed abandoned as of 3/15/18
               2/28/18-JPMorgan Chase Bank N.A.'s Response to (1) the Stipulation and Proposed Order Resolving the Appeal of and the Chapter 7 Trustee's Objection to Bank of
               America, N.A.'s Motion for Lift Stay Relief and (2) the Chapter 7 Trustee's Notice of Proposed Abandonment of Real Property
               3/2/18-Motion to Withdraw as Attorney of Record for Debtor filed by Genova & Malin. Hearing date: 3/6/18


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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 17-35075-CGM                                                                   Trustee:       (900435)         Marianne T O'Toole
Case Name:      REIFLER, BRADLEY C.                                                         Filed (f) or Converted (c): 01/20/17 (f)
                                                                                            §341(a) Meeting Date:           03/02/17
Period Ending: 07/10/20                                                                     Claims Bar Date:                09/15/17

                             1                                           2                             3                          4                    5                      6

                    Asset Description                                Petition/             Estimated Net Value               Property             Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,         Abandoned             Received by       Administered (FA)/
                                                                      Values             Less Liens, Exemptions,            OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                       Remaining Assets

               3/8/18-Stipulation and Order Resolving the BANA Appeal and the Trustee's Objectio to the BANA Lift Stay Motion
               3/9/18-Order Scheduling Expedited Hearing and Shortening Notice for Motion to Withdraw as Attorney of Record for Debtor. Order Permitting the Firm of Genova &
               Malin to Withdraw as Attorney of Record for Debtor.
               3/12/18-JPMorgan Chase Bank, N.A.'s Limited Objection to the Chapter 7 Trustee's Notice of Proposed Abandonment of Real Property
               3/14/18-CYJF LLC's Statement in Response to JPMorgan Chase Bank, N.A.'s Limited Objection to the Chapter 7 Trustee's Proposed Abandonment of Real Property
               3/21/18-Trustee's Response to JP Morgan Chase Bank, N.A.'s Limited Objection to the Chapter 7 Trustee's Notice of Proposed Abandonment of Real Property
               3/26/18-Notice of Apperance of Kennedy Berg, LLP as counsel for Debtor. Debtor's Opposition to Plaintiff North Carolina Mutual Life Insurance Company's Motion for
               Order Quashing Subpoena to RVM Enterprises, Inc. (Adv. Proc. 17-09016)
               3/29/18-Order Overruling JPMC's Limited Objection to the Notice of Abandonment of the Estate's Interest in and to the Real Property Located as 123 Fraleigh Hill
               Road,Millbrook, NY
               4/2/18-Quarterly case review
               4/5/18-Appellant Bank of America's Notice of Voluntary Dismissal with Prejudice of 17 CV 10016.
               4/9/19-Notice of Dismissal of Adv. Proceeding 17-09020
               4/19/18-Order Vacating Order Denying Relief from the Automatic Stay and Granting Bank of America N.A.'s Motion for Relief from the Automatic Stay
               7/3/18-Quarterly case review
               7/16/18-Entry of Default entered against Bradley C. Reifler in Adv. Proc. North Carolina Mutual Life Insurance Company v. Reifler
               7/1718-Third Amended Scheduling Order in Adv. Proc. CYJF, LLC v. Reifler. All discovery to be completed by 12/31/18
               8/3/18-Application for Ex Parte Relief by Chapter 7 Trustee Seeking Entry of an Ex Parte Order, Directing the Production of Documents from J.P. Morgan Chase,
               Citibank, First Republic Bank and TD Bank pursuant to Rule of Bankruptcy Procedure 2004
               8/8/18-Motion for entry of an order confirming the automatic stay does not apply to pending foreclosure actions, or, in the alternative, granting relief from the automatic
               stay filed by CYJF and Motion ot Shorten Time for Notice of Hearing. Hearing date: 8/21/18
               8/14/18-Order Expediting Hearing on CYJF's Motion for Relief from Stay. Hearing Date: 8/21/18
               8/27/18-Order Denying JP Morgan Chase Bank's Motion to Shorten Time for a Motion to Confirm Termination or Absence of Stay. The Hearing on the Motion to
               Confirm Termination or Absence of the Stay shall be heard on 9/18/18
               8/28/18-Order Granting in part and denying in part CYJF's lift stay motion
               9/11/18-Chapter 7 Trustee's Limited Objection to Motions of JPMorgan Bank, N.A.'s Motion for an Order Confirming it May Litigate Claims and Defenses Concerning
               Abandoned Property in Pending Foreclosure Actions
               10/2/18-Order Denying JPMorgan's Lift Stay Motion and Granting in Part JPMorgan's Motion Seeking a Comfort Order
               10/3/18-Quarterly case review
               11/12/18-Final Judgment and Order Granting the U.S. Trustee's Motion for Summary Judgment and Denying the Debtor's Discharge
               11/21/18-Notice of Appeal by Debtor of Final Judgment and Order Granting the U.S. Trustee's Motion for Summary Judgment and Denying the Debtor's Discharge
               filed in Adv. Proc. 17-09030.
               12/31/18-Quarterly case review
               1/18/19-Adversary Proceedings filed: O'Toole v. Bradley Reifler, et al., 19-09003; O'Toole v. Vesnic, 19-09004; and O'Toole v. American Express, 19-09005.
               1/31/19-Opinion & Order of the District Court Affirming Order Entering Default Judgment against Debtor in North Carolina Mutual Life Insurance Company v. Reifler
               Adv. Proceeding
               3/14/19-Agreement and Order to Dismiss Appeal 18 Cv-12302, Reifler v. Harrington
               3/15/19-Schedule Order in Adv. Proc. O'Toole v. Bradley Reifler, et al. All discovery to be completed by 9/15/19. Scheduling Order in Adv. Proc. O'Toole v. Vesnic.


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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 17-35075-CGM                                                                Trustee:         (900435)        Marianne T O'Toole
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                                                                                         §341(a) Meeting Date:            03/02/17
Period Ending: 07/10/20                                                                  Claims Bar Date:                 09/15/17

                               1                                        2                             3                         4                    5                     6

                    Asset Description                               Petition/             Estimated Net Value              Property            Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,        Abandoned            Received by       Administered (FA)/
                                                                     Values             Less Liens, Exemptions,           OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                      and Other Costs)                                                     Remaining Assets

               All discovery to be completed by 6/15/19
               3/22/19-Letter Confirming adjournment of Initial Pretrial Conference in Adv. Proc. O'Toole v. American Express to 4/30/19
               4/1/19-Quarterly case review
               4/4/19-Motion for an Order Authorizing and Approving Stipulation of Settlement in Adv. Proc. O'Toole v. American Express. Hearing date: 4/30/19
               5/6/19-Order Approving Stipulation of Settlement in O'Toole v. American Express
               5/31/19-Letter confirming adjournment of Pre-Trial Conference in Adv. Proc. O'Toole v. Bradley Reifler, et al. to 7/30/19
               6/6/19-First Amended Scheduling Order in Adv. Proc. O'Toole v. Vesnic. All discovery to be completed 9/15/19
               7/2/19-Quarterly case review
               8/5/19-Motion for a Protective Order Temporarily Staying Deposition of Defendant Lisette Ackerberg filed in Adv. Proc. O'Toole v. Bradley Reifler, et al. Hearing date:
               8/20/19
               8/14/19-Motion to Compel by the Chapter 7 Trustee Pursuant to Rule 37 in Adv. Proc. 19-9003. Hearing date: 9/10/19
               8/22/19-Order Temporarily Staying Deposition of Lisettte Ackerberg. Document discovery not stayed and shall continued as ordered by the Court.
               9/10/19-Motion to Compel filed by Chapter 7 Trustee Compelling Lisette Ackerberg to Properly and Fully Respond to the Trustee's Requests for Production of
               Documents, First Set of Interrogatories, Imposing Sanctions and Granting Related Relief Including Reasonable Attorneys Fees Against Lisette Ackerberg. Hearing
               date: 10/22/19. Motion for a Protective Order Quashing Plaintiff's Document Requests in Part filed by Defendant Lisette Ackerberg in Adv. Proc. 19-9003. Hearing
               date: 9/17/19
               9/12/19-Motion for an Order Compelling Jacqueline Vesnic to Properly and Fully Respond to the Trustee's First Request for Production of Documents, First Set of
               Interrogatories, Imposing Sanctions and Granting Related Relief Including Reasonable Attorneys' Fees Against Jacqueline Vesnic
               9/13/19-Letter confirming adjournment of pretrial conference and hearing on Trustee's Motion to Compel and Sanctions in Adversary Proceeding 19-09004 to
               10/29/19. Letter confirming adjournment of pretrial conference; hearing on Trustee's Motion to Compel and Sanctions against Family Defendants; hearing on Trustee's
               Motion to Compel and Sanctions against Lisette Ackerberg and Hearing on Lisette Ackerberg's Motion for a Protective Order in Adversary Proceeding 19-09003 to
               10/29/19. Discovery cutoff in 19-09003 extended until 1/31/2020.
               9/16/19-First Amended Scheduling Order in Adv. proc. 19-09003. Discovery to be completed by 1/31/2020. Second Amended Scheduling Order in 19-9004.
               Discovery to be completed by 1/31/2020.
               9/30/19-Quarterly case review
               10/1/19-Notice of Presentment of Proposed Judgment and Order in Adv. Proc. JPMorgan Chase Bank, N.A. v. Bradley C. Reifler. Presentment date: 10/23/19
               10/25/19-Letter confirming adjournment of Hearing on Trustee's Motion to Compel and for Sanctions against Lisette Ackerberg and Lisette Ackerberg's Motion for a
               Protective Order to 12/3/19
               10/31/19-Order Granting Chapter 7 Trustee's Motion Compelling Jacqueline Vesnic to Properly and Fully Respond to the Trustee's First Request for Production of
               Documents, First Set of Interrogatories and Appear for Depositions, Imposing Sanctions and Granting Related Relief Including Reasonable Attorneys' Fees Against
               Jacqueline Vesnic in Adv. Proc. O'Toole v. Vesnic. Order in Adv. Proc. 19-9003 Granting Chapter 7 Trustee's Motion Compelling the Family Defendants to Properly
               and Fully Respond to the Trustee's First Request for Production of Documents, First Set of Interrogatories and Appear for Depositions, Imposing Sanctions and
               Granting Related Relief Including Reasonable Attorneys' Fees Against the Family Defendants and Striking the Family Defendants Answers
               11/4/19-Notice of Proposed Abandonment of the Estate's Interest in and to Certain Personal Property Located at 123 Fraleigh Hill Road, Millbrook, NY 12545.
               Objections, if any, due 11/25/19. If no Objections timely filed, Property deemed abandoned as of 11/29/19. If timely Objections filed, a Hearing will be held 12/3/19
               11/14/19-Order Awarding Expenses Incurred in Connection with Motion to Compel Directing Payment by Jacqueline Vesnic in Adv. Proc. 19-9004 and Order Awarding
               Expenses Incurred in Connection with Motion to Compel Directing Payment by the Family Defendants in Adv. Proc. 19-9003.
               11/15/19-Judgment and Order Denying Discharge and Declaring Claim of CYJF, LLC to be Non-Dischargeable


                                                                                                                                              Printed: 07/10/2020 07:21 PM      V.14.66
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                                                                                Form 1                                                                                      Page: 6

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 17-35075-CGM                                                                Trustee:         (900435)      Marianne T O'Toole
Case Name:       REIFLER, BRADLEY C.                                                     Filed (f) or Converted (c): 01/20/17 (f)
                                                                                         §341(a) Meeting Date:          03/02/17
Period Ending: 07/10/20                                                                  Claims Bar Date:               09/15/17

                               1                                         2                            3                       4                    5                    6

                    Asset Description                               Petition/             Estimated Net Value            Property            Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,      Abandoned            Received by       Administered (FA)/
                                                                     Values             Less Liens, Exemptions,         OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                      and Other Costs)                                                   Remaining Assets

                11/26/19-Letter confirming adjournment of conference in O'Toole v. Vesnic to 12/17/19
                12/4/19-Motion for Contempt, Striking Family Defendants' Answers and Enterling Default Judgment against Family Defendants in Adv. Proc. O'Toole v. Bradley Reifler,
                et al. Hearing date: 12/17/19
                12/5/19-Motion for Contempt, Striking Defendant's Answer and Enterling Default Judgment against Defendant Vesnic in O'Toole v. Vesnic. Hearing date: 12/17/19
                12/10/19-Objection to Motion for Protective Order filed by Chapter 7 Trustee
                12/26/19-Order Finding Defendant in Contempt, Strking Defendant's Answer and Enterling Default Judgment against Defendant Vesnic in O'Toole v. Vesnic, Adv.
                Proc. 19-9004. Order Granting Chapter 7 Trustee's Motion Compelling Lisette Ackerberg to Properly and Fully Respond to theTrustee's First Request for Production of
                Documents and First Set of Interrogatories, and Imposing Sanctions and Granting Related Relief Including Reasonable Attorneys' Fees; Denying Defendant
                Ackerberg's Motion for a Protective Order. Order Finding the Family Defendants in Contempt, Striking the Family Defendants' Answers and Entering Default
                Judgments Against the Family Defendants in 19-09003.
                12/31/19-Quarterly case review
                1/3/20-Order Awarding Expenses Incurred in connection with Motion to Compel and Directing Payment by Defendant Ackerberg in Adv. Proc. 19-9003
                1/8/20-Notice of Appeal filed by Defendant Jacqueline Vesnic in Adv. Proc. O'Toolel v. Vesnic. Notice of Appeal filed by Family Defendants in Adv. Proc. 19-9003
                1/24/20-Order to Show Cause Scheduling Hearing on Shortened Notice of Defendant Lisetter Ackerberg's Emergency Motion for a Stay Pending Appeal. Hearing
                date: 2/4/20
                1/25/20-Motion for Extension of Time to Produce Documents filed by Defendant Lisette Ackerberg. Hearing date: 2/4/20
                2/4/20-Motion to Approve Settlement with Lisette Ackerbeg in 19-9003. Hearing date: 3/3/20
                2/19/20-Notice of Transmittal of Record on Appeal in O'Toole v. Vesnic. Case 20-cv-01423 assigned to Hon. Nelson Stephen Roman. Notice of Transmittal of Record
                on Appeal in O'Toole v. Bradley Reifler, et al.. Case 20-cv-01427 assigned to Hon. Vincent Briccetti
                3/5/20-Order Approving Stipulation of Settlement with Lisette Ackerberg in 19-9003.
                3/6/20- Letter withdrawing Lisette Ackerberg's Emergency Motion for Stay Pending Appeal and Motion for Extension of Time to Produce Documents
                3/31/20-Quarterly case review
                5/13/20-Stipulation and Order of Dismissal of Bankruptcy Appeal by Lisette Ackerberg (20-cv-1430-CM)

     Initial Projected Date Of Final Report (TFR):     May 1, 2019                         Current Projected Date Of Final Report (TFR):        June 1, 2021




                                                                                                                                            Printed: 07/10/2020 07:21 PM     V.14.66
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                                                                                    Form 2                                                                                       Page: 1

                                                     Cash Receipts And Disbursements Record
Case Number:         17-35075-CGM                                                                    Trustee:            Marianne T O'Toole (900435)
Case Name:           REIFLER, BRADLEY C.                                                             Bank Name:          Mechanics Bank
                                                                                                     Account:            ******6066 - Checking Account
Taxpayer ID #:       **-***4436                                                                      Blanket Bond:       $1,095,520.00 (per case limit)
Period Ending: 07/10/20                                                                              Separate Bond: N/A

   1             2                             3                                     4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From                  Description of Transaction               T-Code              $                  $               Account Balance
04/03/19      {23}         American Express Travel Related     Settlement Sum for American Express              1241-000            45,000.00                                45,000.00
                           Services Company, Inc.              Adversary Proceeding, 19-09005
                           2401 W Behrend Drive
                           Suite 55, MC 24-01-17
                           Phoenix, AZ 85027
06/28/19       101         INTERNATIONAL SURETIES, LTD.        BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                       24.87         44,975.13
                           701 Poydras Street                  BALANCE AS OF 06/19/2019 FOR CASE
                           SUITE 420                           #17-35075, Bond 016030126 June 19, 2019 to
                           New Orleans, LA 70139               June 19, 2020
02/03/20      {25}         Lisette Ackerberg                   Adversary Settlement Sum                         1241-000           900,000.00                               944,975.13
03/31/20                   Mechanics Bank                      Bank and Technology Services Fee                 2600-000                                      755.20        944,219.93
04/30/20                   Mechanics Bank                      Bank and Technology Services Fee                 2600-000                                   1,509.20         942,710.73
05/29/20                   Mechanics Bank                      Bank and Technology Services Fee                 2600-000                                   1,456.56         941,254.17
06/30/20                   Mechanics Bank                      Bank and Technology Services Fee                 2600-000                                   1,604.75         939,649.42

                                                                                   ACCOUNT TOTALS                                  945,000.00              5,350.58        $939,649.42
                                                                                          Less: Bank Transfers                            0.00                  0.00
                                                                                   Subtotal                                        945,000.00              5,350.58
                                                                                          Less: Payments to Debtors                                             0.00
                                                                                   NET Receipts / Disbursements                   $945,000.00             $5,350.58

                                  Net Receipts :         945,000.00
                                                                                                                                       Net             Net                    Account
                                    Net Estate :        $945,000.00                TOTAL - ALL ACCOUNTS                              Receipts     Disbursements               Balances

                                                                                   Checking # ******6066                           945,000.00              5,350.58         939,649.42

                                                                                                                                  $945,000.00             $5,350.58        $939,649.42




{} Asset reference(s)                                                                                                                         Printed: 07/10/2020 07:21 PM        V.14.66
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                                                       EXHIBIT C
                                                ANALYSIS OF CLAIMS REGISTER                                Claims Bar Date: September 15, 2017

Case Number: 17-35075-CGM                                           Page: 1                                              Date: July 10, 2020
Debtor Name: REIFLER, BRADLEY C.                                                                                         Time: 07:22:01 PM
Claim #   Creditor Name & Address                    Claim Type    Claim Ref. No. / Notes       Amount Allowed           Paid to Date    Claim Balance

          Marianne T O'Toole                         Admin Ch. 7                                        $43,250.00               $0.00         43,250.00
200       22 Valley Road                                           The Trustee's compensation is calculated based upon payment of the proposed
          Katonah, NY 10536                                        interim distributions as proposed in the Interim Final Report, less the amount of the
                                                                   holdbacks to counsel and the financial advisor.


          Marianne T O'Toole                         Admin Ch. 7                                         $1,069.57               $0.00          1,069.57
200       22 Valley Road
          Katonah, NY 10536
          O'Toole + O'Toole PLLC                     Admin Ch. 7                                      $250,678.00                $0.00        250,678.00
200       22 Valley Road                                           The First Interim Application for Compensation and Reimbursment of Expenses
          Katonah, NY 10536                                        reflects a voluntary holdback of 10% of Compensation in the amount of $25,067.80


          O'Toole + O'Toole PLLC                     Admin Ch. 7                                         $3,748.59               $0.00          3,748.59
200       22 Valley Road
          Katonah, NY 10536
          CBIZ                                       Admin Ch. 7                                      $264,887.00                $0.00        264,887.00
200       5 Bryant Park at 1065 Avenue of the Amer                 The First Interim Application for Compensation and Reimbursment of Expenses
          10th Floor                                               reflects a voluntary holdback of 10% of Comepnsation in the amount of $26,488.70.
          New York, NY 10018


          CBIZ                                       Admin Ch. 7                                            $79.20               $0.00              79.20
200       5 Bryant Park at 1065 Avenue of the Amer
          10th Floor
          New York, NY 10018
BOND      INTERNATIONAL SURETIES, LTD.               Admin Ch. 7                                            $24.87              $24.87               0.00
200       701 Poydras Street
          SUITE 420
          New Orleans, LA 70139
2P        INTERNAL REVENUE SERVICE                   Priority                                            $4,343.40               $0.00          4,343.40
 570      P.O. BOX 7346
          PHILADELPHIA, PA 19101-7346
7         Bank of America, N.A.                      Secured                                                  $0.00              $0.00               0.00
 100      c/o Michael T. Driscoll, Esq.,Sheppard                   Lift Stay granted, ECF Doc. 206, and foreclosure proceeded. ECF Doc. 293 (no
          Mullin Richter & Hampton LLP,30 Rockefel                 surplus). Stipulation & Order Dismissing Adv. Pro. 17-09015, ECF No. 19.
          New York, NY 10112-0015




2S        INTERNAL REVENUE SERVICE                   Secured                                       $22,978,175.28                $0.00     22,978,175.28
 201      P.O. BOX 7346                                            Notice of Federal Tax Lien filed November 19, 2015/Tax Assessment November 12,
          PHILADELPHIA, PA 19101-7346                              2015. Secured portion of claim subordinated pursuant to Bankruptcy Code Section
                                                                   724(b), 11 U.S.C. 724(b) .


6S        JPMorgan Chase Bank, N.A.                  Secured                                         $5,788,505.43               $0.00      5,788,505.43
 202      c/o Becker, Glynn, Muffly                                Judgment and Order Denying Discharge. Adv. pro. 17-09012 (cgm) ECF No. 73 .
          Chassin & Hosinski LLP,299 Park Ave                      Real Property not liquidated in Bankruptcy.
          New York, NY 10171
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                                                        EXHIBIT C
                                                 ANALYSIS OF CLAIMS REGISTER                            Claims Bar Date: September 15, 2017

Case Number: 17-35075-CGM                                         Page: 2                                            Date: July 10, 2020
Debtor Name: REIFLER, BRADLEY C.                                                                                     Time: 07:22:01 PM
Claim #   Creditor Name & Address                   Claim Type   Claim Ref. No. / Notes       Amount Allowed         Paid to Date   Claim Balance

                                                                 THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
                                                                 PARTIES RESERVE ANY AND ALL RIGHTS.

12        CYJF LLC c/o Yassky Properties            Secured                                       $7,583,153.22             $0.00      7,583,153.22
 202      424 Madison Avenue, 16th Floor                         Judgment and Order Denying Discharge. ECF Doc. 292. See also Adv.
          New York, NY 10017                                     Pro.17-0917 (cgm), Doc. No.45. Real Property not liquidated in Bankruptcy. Lift
                                                                 Stay granted, ECF Doc. 206, and foreclosure proceeded. ECF Doc. 293 (no
                                                                 surplus).


                                                                 THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
                                                                 PARTIES RESERVE ANY AND ALL RIGHTS.


1         North Carolina Mutual Life Insurance      Unsecured                                              $0.00            $0.00              0.00
 610      Company                                                Filed as contingent unliquidated claim. See Adv. Pro. 17-09016 ECF No. 177
          Attn: Michael Lawrence                                 (denial of discharge and debt non-dischargeable), aff'd 18-CV-4711 (KMK).
          411 W. Chapel Hill Street
          Durham, NC 27701                                       THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
                                                                 PARTIES RESERVE ANY AND ALL RIGHTS.



3         Lisette Ackerberg                         Unsecured                                              $0.00            $0.00              0.00
 610      c/o Yankwitt LLP                                       See Order Approving Stipulation of Settlement, 19-9003, ECF Nos. 77-1, 82, and
          140 Grand Street, Suite 501                            expunging Claims 3 and 8.
          White Plains, NY 10601


4         MORVILLO ABRAMOWITZ GRAND IASON Unsecured                                                 $231,103.17             $0.00        231,103.17
 610      & ANELLO                                               THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
          565 FIFTH AVENUE                                       PARTIES RESERVE ANY AND ALL RIGHTS.
          NEW YORK, NY 10017

5         PYOD, LLC its successors and assigns as   Unsecured                                        $52,142.47             $0.00         52,142.47
 610      assignee                                               THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
          of Citibank, N.A.                                      PARTIES RESERVE ANY AND ALL RIGHTS.
          Resurgent Capital Services,PO Box 19008
          Greenville, SC 29602

6U        JPMorgan Chase Bank, N.A.                 Unsecured                                       $472,759.50             $0.00        472,759.50
 610      c/o Becker, Glynn, Muffly                              Judgment and Order Denying Discharge. Adv. pro. 17-09012 (cgm) ECF No. 73 .
          Chassin & Hosinski LLP,299 Park Ave                    Real Property not liquidated in Bankruptcy.
          New York, NY 10171
                                                                 THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
                                                                 PARTIES RESERVE ANY AND ALL RIGHTS.



8         Lisette Ackerberg                         Unsecured                                              $0.00            $0.00              0.00
 610      C/O Yankwitt LLP                                       See Order Approving Stipulation of Settlement, 19-9003, ECF Nos. 77-1, 82, and
          140 Grand Street, Suite 501                            expunging Claims 3 and 8.
          White Plains, NY 10601
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                          Claims Bar Date: September 15, 2017

Case Number: 17-35075-CGM                                            Page: 3                                         Date: July 10, 2020
Debtor Name: REIFLER, BRADLEY C.                                                                                     Time: 07:22:01 PM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes      Amount Allowed       Paid to Date   Claim Balance

9         US Securities and Exchange Commission        Unsecured                                            $0.00           $0.00             0.00
 610      200 Vesey Street                                          Contingent Unliquidated Claim.
          Suite 400
          New York, NY 10281                                        THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
                                                                    PARTIES RESERVE ANY AND ALL RIGHTS.



10        Alan Nisselson, Ch. 7 Trustee of Galleon     Unsecured                                     $1,898,115.21          $0.00     1,898,115.21
 610      Managemen                                                 THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
          c/o Alan Nisselson,Windels Marx Lane &                    PARTIES RESERVE ANY AND ALL RIGHTS.
          Mittendorf, LLP,156 West 56th Street
          New York, NY 10019

11        GB Forefront, L.P.                           Unsecured                                     $7,922,601.15          $0.00     7,922,601.15
 610      c/o Gary P. Lightman, Esquire,Lightman                    THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
          & Manochi,1520 Locust Street, 12th Floor                  PARTIES RESERVE ANY AND ALL RIGHTS.
          Philadelphia, PA 19102


13        GLOBAL Reinsurance Corp of America           Unsecured                                      $475,368.50           $0.00       475,368.50
 610      attn: Kate Walker, Esq.                                   THE PRIORITY OF CLAIM NOT REACHED ON INTERIM DISTRIBUTION.
          Two Logan Square,100 N 18th St, Ste 600                   PARTIES RESERVE ANY AND ALL RIGHTS.
          Philadelphia, PA 19103


14        American Express National Bank               Unsecured                                       $45,000.00           $0.00        45,000.00
 610      c/o Darryl S. Laddin,Arnall Golden                        See Adv. 9005 (cgm), ECF Doc. No. 14 Order approving Settlement and allowance
          Gregory LLP,171 17th Street NW, Suite 21                  of claim.
          Atlanta, GA 30363-1031


<< Totals >>                                                                                         48,015,004.56          24.87    48,014,979.69
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                           TRUSTEE'S PROPOSED INTERIM DISTRIBUTION
                                                                                                        Exhibit D

            Case No.: 17-35075-CGM
            Case Name: REIFLER, BRADLEY C.
            Trustee Name: Marianne T O'Toole
                                               Balance on hand:                         $           939,649.42
             Claims of secured creditors will be paid as follows:

Claim        Claimant                              Claim Allowed Amount Interim Payments               Proposed
No.                                              Asserted       of Claim          to Date              Payment
   2S        INTERNAL REVENUE               22,978,175.28      22,978,175.28                0.00       287,844.14
             SERVICE
   6S        JPMorgan Chase Bank,            5,788,505.43       5,788,505.43                0.00             0.00
             N.A.
   7         Bank of America, N.A.           2,204,763.14                 0.00              0.00             0.00
  12         CYJF LLC c/o Yassky             7,583,153.22       7,583,153.22                0.00             0.00
             Properties
                                               Total to be paid to secured creditors:   $           287,844.14
                                               Remaining balance:                       $           651,805.28

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments         Proposed
                                                                                      to Date        Payment
Trustee, Fees - Marianne T O'Toole                                   43,250.00              0.00        43,250.00
Trustee, Expenses - Marianne T O'Toole                                1,069.57              0.00         1,069.57
Attorney for Trustee, Fees - O'Toole + O'Toole PLLC                 250,678.00              0.00       225,610.20
Attorney for Trustee, Expenses - O'Toole + O'Toole PLLC               3,748.59              0.00         3,748.59
Accountant for Trustee, Fees - CBIZ                                 264,887.00              0.00       238,398.30
Accountant for Trustee, Expenses - CBIZ                                  79.20              0.00            79.20
Other Expenses: INTERNATIONAL SURETIES, LTD.                             24.87          24.87                0.00
                           Total to be paid for chapter 7 administration expenses:      $           512,155.86
                           Remaining balance:                                           $           139,649.42




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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments          Proposed
                                                                                         to Date         Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $                 0.00
                             Remaining balance:                                             $           139,649.42

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $4,343.40 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  2P           INTERNAL REVENUE SERVICE                                4,343.40                 0.00              0.00
                                                 Total to be paid for priority claims:      $                 0.00
                                                 Remaining balance:                         $           139,649.42
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 11,097,090.00 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  1            North Carolina Mutual Life Insurance                        0.00                 0.00              0.00
               Company
  3            Lisette Ackerberg                                           0.00                 0.00              0.00
  4            MORVILLO ABRAMOWITZ GRAND                            231,103.17                  0.00              0.00
               IASON & ANELLO
  5            PYOD, LLC its successors and assigns as                52,142.47                 0.00              0.00
               assignee
  6U           JPMorgan Chase Bank, N.A.                            472,759.50                  0.00              0.00
  8            Lisette Ackerberg                                           0.00                 0.00              0.00
  9            US Securities and Exchange Commission                       0.00                 0.00              0.00
 10            Alan Nisselson, Ch. 7 Trustee of Galleon            1,898,115.21                 0.00              0.00

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               Managemen
 11            GB Forefront, L.P.                                 7,922,601.15                0.00               0.00
 13            GLOBAL Reinsurance Corp of America                  475,368.50                 0.00               0.00
 14            American Express National Bank                       45,000.00                 0.00               0.00
                            Total to be paid for timely general unsecured claims:         $                 0.00
                            Remaining balance:                                            $           139,649.42


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                 0.00
                            Remaining balance:                                            $           139,649.42

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                                                Total to be paid for subordinated claims: $                 0.00
                                                Remaining balance:                        $           139,649.42




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